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 1                                UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 DANIEL MOSSO RAMIREZ,                                     Case No.: 2:20-cv-00609-JAD-VCF
   CHRISTOPHER NJINGU,
 4
        Plaintiffs
 5                                                              Order Allowing Withdrawal
   v.                                                                of Moot Petition
 6
   ROBERT CULLEY, et al.,
 7
        Defendants
 8

 9             On April 9, 2020, I denied 28 U.S.C. § 2241 petitioner-plaintiff Daniel Mosso Ramirez’s

10 motion for temporary restraining order. 1 I also denied the petition as moot with respect to

11 petitioner-plaintiff Christopher Njinju because he had been released from immigration

12 detention. 2 Respondents submitted a status report on April 30, 2020, stating that the

13 Immigration Judge granted Ramirez’s unopposed request for cancellation of removal, and he was

14 released from immigration detention on April 16, 2020. 3 Ramirez has now filed a motion to

15 withdraw his petition-complaint as moot. 4 Good cause appearing,

16             IT IS HEREBY ORDERED that the petitioner’s motion to withdraw the petition for writ

17 of habeas corpus pursuant to 28 U.S.C. § 2241 and complaint for injunctive relief as moot [ECF

18 No. 22] is GRANTED; the petition is withdrawn as moot.

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21
     1
         ECF No. 20.
22   2
         Id.
23   3
         ECF No. 21.
     4
         ECF No. 22.
        Case 2:20-cv-00609-JAD-VCF Document 23 Filed 05/06/20 Page 2 of 2



 1       IT IS FURTHER ORDERED that the Clerk is directed to ENTER JUDGMENT

 2 accordingly and CLOSE THIS CASE.

 3       Dated: May 6, 2020

 4                                               _________________________________
                                                 U.S. District Judge Jennifer A. Dorsey
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